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                                                                         Judge: Christopher M. Alston
                                                                         Chapter: 7
 2                                                                       Hearing Location: Seattle
                                                                         Hearing Date: 6-28-19
 3                                                                       Hearing Time: 9:30 a.m.
                                                                         Response Date: 6-21-19
 4

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 6                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8

 9
      In Re:
                                                                Case No:       18-12299-CMA
10
      JASON L. WOEHLER,
11                                                              RESPONSE TO MOTION
                                                                FOR TURNOVER
12                                    Debtor

13
               COMES NOW Jason Woehler, by and through counsel, and responds to the trustee’s
14
      motion for turnover. The debtor requests the motion be denied. This response is based on the
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16    declarations of Jason Woehler and James Dickmeyer submitted herewith.

17             Mr. Woehler denies he has failed to cooperate with the trustee. He has been working

18    diligently to secure the funding to pay the estate the nonexempt equity in the residence and, in

19    the meantime, paying the mortgage, keeping the home insured and maintaining it. Mr.
20    Woehler’s originally intended lender, a longtime family friend, has recently encountered some
21
      financial bumps in the road as well and is helping Mr. Woehler find alternate funding. Mr.
22
      Woehler’s objective is still to save his residence if at all possible.
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               Mr. Woehler was forced to reschedule the trustee’s agent’s inspection of the home in
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      January 2019, and the delay was about one week. Mr. Woehler denies receiving the number of
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                                                                                   JAMES E. DICKMEYER, PC
     Response - 1                                                                121 Third Avenue PO Box 908
                                                                                Kirkland, Washington 98083-0908
                                                                                          (425) 889-2324
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      messages the trustee’s agent states he left. He believes the agent did try to reach him a couple
 2
      times but the number was not recognized, the call was not answered and no voice mail was left.
 3
      Mr. Woehler’s counsel was not notified of any difficulty the agent had reaching Mr. Woehler,
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      as is the agent’s custom.
 5
              Notwithstanding his desire and intention to save his home by paying the estate the
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 7    nonexempt equity, Mr. Woehler will cooperate with Mr. Jones’s efforts to get a key and list the

 8    property. Mr. Woehler’s current housemate can provide a key if Mr. Woehler is out of town, as

 9    he is frequently for business.

10                                     DATED this 21st day of June, 2019

11                                                   James E. Dickmeyer, PC
12

13                                                   By /s/ James E. Dickmeyer
                                                       James E. Dickmeyer WSBA #14318
14                                                     Attorney for Debtor

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                                                                              JAMES E. DICKMEYER, PC
     Response - 2                                                           121 Third Avenue PO Box 908
                                                                           Kirkland, Washington 98083-0908
                                                                                     (425) 889-2324
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